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 2   Law Office of Thomas A. Johnson
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 3
     Sacramento, California 95814
 4   Telephone: (916) 422-4022
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                 )
 9
     UNITED STATES OF AMERICA,                   )   Case No.: 2:11-cr-00353-MCE
10                                               )
                    Plaintiff,                   )   DEFENDANT’S STIPULATION AND
11                                                   ORDER FOR CONTINUANCE OF
                                                 )   STATUS CONFERENCE
12         vs.                                   )
                                                 )
13
     SEAN MCCLENDON, et al.,                     )
14                                               )
                    Defendants.                  )
15                                               )
16
17         The parties, through undersigned counsel, stipulate that the Status Conference,
18
     scheduled for July 101, 2014, be continued to September 18, 2014, at 9:00 a.m. As to
19
     defendants McClendon and Williams, these defendants have pleaded guilty pursuant to
20
     agreements that contemplate cooperation at trial in this matter. Defense counsel for Mr.
21
     Salcedo, Thomas A. Johnson, was recently retained on this matter and requests additional
22
     time to review discovery. Defendant Salcedo and the United States, by and through
23
     undersigned counsel, stipulate and agree as follows:
24
                 1. This case involves approximately 9,500 pages of discovery well as
25
                    recorded statements.
26
27               2. Counsel for defendant Salcedo has been engaged in trial in the matter of

28                  United States v. Hubert Rotteveel, in front of Judge Shubb from May 6,


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 1                2014 to May 20, 2014, and People v. Gordon Blake in Contra Costa County
 2                from May 27, 2014 to June 11, 2014.
 3             3. This case has previously been designated as complex under Local Code T2
 4                and the corresponding provisions of the Speedy Trial Act.
 5
               4. There is significant discovery that requires review and analysis in this
 6
                  mortgage fraud case for appropriate representation of defendant Salcedo.
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               5. Considering the exercise of due diligence in light of the complexity of the
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                  case, the volume of discovery, defense counsel’s trial obligations in other
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                  matters, and recent retention in this matter, it is unreasonable to expect
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                  adequate preparation for pretrial proceedings and trial itself within the time
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                  limits established in Section 3161.
12
               6. Thus, defendant Salcedo requests and the Government stipulates that the
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                  interests of justice in granting this request for a continuance outweighs the
14
15                best interests of the public and defendants for a speedy trial in this case,

16                pursuant to Local Codes T2 (complexity) and T4 (defense preparation) and

17                the corresponding provisions of the Speedy Trial Act, and request a new
18                date of September 18, 2014, at 9:00 a.m. with time excluded as set forth
19                above to and including that date.
20         As a result of the above stipulation and resulting continuance, and because having
21   been adjudicated guilty via guilty plea the Speedy Trial Act no longer applies to them,
22   Defendants Williams and McClendon through their respective counsel, stipulate to the
23   continuance of the Status Conference.
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25
26   Dated: July 7, 2014
                                                /s/ Thomas A. Johnson
27                                              THOMAS A. Johnson
28                                              Counsel for ANTHONY SALCEDO


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 1
 2   Dated: July 7, 2014                 BENJAMIN B. WAGNER
                                         United States Attorney
 3
 4                                       /s/ Thomas A. Johnson for
                                         JEAN M. HOBLER
 5
                                         Assistant United States Attorney
 6
 7
     Dated: July 7, 2014                 /s/ Thomas A. Johnson for
 8                                       DONALD H. HELLER
                                         Counsel for SEAN MCCLENDON
 9
10
11
     Dated: July 7, 2014                 /s/ Thomas A. Johnson for
12                                       SCOTT CAMERON
                                         Counsel for ANTHONY WILLIAMS
13
14
15
                                       ORDER
16
           IT IS SO ORDERED.
17
     Dated: July 8, 2014
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